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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    PETER JOESPH REED,                        Case No. 2:21-cv-02205-PA-KES
 12                Petitioner,
 13         v.                                               JUDGMENT

 14    JANICE GASTELO, Warden,
 15                Respondent.
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 18         Pursuant to the Court’s Order Accepting Report and Recommendation of
 19   U.S. Magistrate Judge,
 20         IT IS ADJUDGED that the Petition is dismissed.
 21
 22   DATED: October 21, 2021             ____________________________________
 23                                       PERCY ANDERSON
                                          UNITED STATES DISTRICT JUDGE
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